

ORDER

PER CURIAM:
AND NOW, this 24th day of March, 1999, upon consideration of the Report and Recom*120mendations of the Disciplinary Board dated December 1,1998, it is hereby
ORDERED that LOUIS S. CRIDEN be and he is SUSPENDED from the Bar of this Commonwealth for a period of four (4) years to run consecutively to the period of suspension previously imposed by this Court on August 2, 1994, at No. 145 DB 91, and he shall comply with all the provisions of Rule 217 Pa.R.D.E.
It is further ORDERED that respondent shall pay costs to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
Justices CASTILLE and NIGRO dissent and would enter a rule upon respondent to show cause why he should not be disbarred.
